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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                      )
CREATIVE IMPACT INC.;                 )
ZURU LLC;                             )
ZURU INC.,                            )
                                      ) Case No.: 1:19-cv-04734
      Plaintiffs,                     )
                                      )
v.                                    )
                                      )
THE 496 INDIVIDUALS, CORPORATIONS,    )
LIMITED LIABILITY COMPANIES,          )
PARTNERSHIPS, AND UNINCORPORATED      )
ASSOCIATIONS IDENTIFIED ON SCHEDULE A )
HERETO,                               )
                                      )
      Defendants.                     )


                                         COMPLAINT

       Plaintiffs CREATIVE IMPACT INC., ZURU LLC, and ZURU INC. (collectively

“Plaintiffs”), by their undersigned counsel, hereby complain of The 62 Individuals, Corporations,

Limited Liability Companies, Partnerships, and Unincorporated Associations identified on

Schedule A attached hereto (collectively, “Defendants”), and for their Complaint hereby allege

as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the trademark

infringement and false designation of origin claims in this action pursuant to the provisions of

the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)–(b), and 28 U.S.C. § 1331. This

Court has original subject matter jurisdiction over the copyright claim pursuant to the Copyright

Laws of the United States, 17 U.S.C. § 101 et seq., 28 U.S.C. § 1338(a)–(b), and 28 U.S.C. §



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1331. This Court has jurisdiction over the unfair deceptive trade practices claim in this action

that arise under the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a) because the state

law claims are so related to the federal claims that they form part of the same case or controversy

and derive from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants, because each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiffs’ trademark. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars, and, on

information and belief, has sold products bearing counterfeit versions of Plaintiffs’ federally

registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiffs substantial

injury in the State of Illinois. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2)

and 1400(a) because Defendants have committed acts of copyright infringement in this judicial

district, do substantial business in the judicial district, have registered agents in this judicial

district, and reside or may be found in this district




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                                         INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputation and goodwill by selling and/or offering for sale products in connection

with the BUNCH O BALLOONS trademark, which is covered by U.S. Trademark Registration

No. 4709630, and copyrights, which are covered by U.S. Copyright Office Registration No. VA

1-935-444. The Registrations are valid, subsisting, and in full force and effect. A true and correct

copy of the federal trademark registration certificate for the mark, including registered

assignment to Plaintiff Creative Impact Inc., is attached hereto as Exhibit 1. A true and correct

copy of the federal copyright registration certificate for No. VA 1-935-444, for which Plaintiffs

ZURU LLC and ZURU INC. own all copyrights as the exclusive licensee of Tinnus Enterprises,

is attached hereto as Exhibit 2.

        4.      The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiffs’

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiffs are forced to file this action to combat Defendants’

counterfeiting of Plaintiffs’ registered trademark and copyrights, as well as to protect unknowing

consumers from purchasing unauthorized BUNCH O BALLOONS products over the Internet.

Plaintiffs have been and continue to be irreparably damaged through consumer confusion,




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dilution, and tarnishment of their valuable trademark and copyrights as a result of Defendants’

actions and seek injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                         THE PLAINTIFF

        6.      Plaintiff CREATIVE IMPACT INC. is a corporation incorporated under the law

of the British Virgin Islands.

        7.      Plaintiff ZURU LLC is a limited liability company organized under the laws of

Oregon with offices in El Segunda, California.

        8.      Plaintiff, ZURU INC. is a corporation incorporated under the law of the British

Virgin Islands and a Hong Kong registered company with offices in Kowloon, Hong Kong.

        9.      Plaintiff CREATIVE IMPACT INC. is the registered owner of the BUNCH O

BALLOONS trademark (U.S. Trademark Registration No. 4709630) via a recorded assignment

from Tinnus Enterprises, LLC. Plaintiffs ZURU LLC and ZURU INC. are members of the

ZURU Group of companies, which has grown into a diversified global enterprise (collectively

“ZURU”). ZURU has earned an international reputation for quality, reliability and value and is

credited for many breakthroughs that have occurred in the toy industry. ZURU is an exclusive

licensee and official source of BUNCH O BALLOONS products in the United States, which

include the following:




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 https://www.bunchoballoons.com/products/

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        10.    Since July 2014, the BUNCH O BALLOONS mark is and has been the subject of

substantial and continuous marketing and promotion by Plaintiffs. Plaintiffs have and continue to

widely market and promote the BUNCH O BALLOONS mark in the industry and to consumers.

Plaintiffs’ promotional efforts include — by way of example but not limitation — substantial

print media, the BUNCH O BALLOONS website and social media sites, and point of sale

materials.

        11.    The BUNCH O BALLOONS trademark is distinctive and identifies the

merchandise as goods from Plaintiffs. The registration for the BUNCH O BALLOONS

trademark constitutes prima facie evidence of its validity and of Plaintiffs’ exclusive right to use

the BUNCH O BALLOONS trademark pursuant to 15 U.S.C. § 1057(b).

       12.     The BUNCH O BALLOONS trademark qualifies as a famous mark, as that term

is used in 15 U.S.C. §1125 (c)(1), and has been continuously used and never abandoned.

        13.    Plaintiffs have expended substantial time, money, and other resources in

developing, advertising and otherwise promoting the BUNCH O BALLOONS trademark. As a

result, products bearing the BUNCH O BALLOONS trademark are widely recognized and

exclusively associated by consumers, the public, and the trade as being products sourced from

Plaintiffs.

        14.    Plaintiffs ZURU LLC and ZURU INC. own all exclusive rights, including

without limitation the rights to reproduce the copyrighted work in copies, to prepare derivative

works based upon the copyrighted work, and to distribute copies of the copyrighted work to the

public by sale or other transfer of ownership, or by rental, lease, or lending, in various copyrights

for the BUNCH O BALLOONS products as the exclusive licensee of Tinnus Enterprises,




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including without limitation copyrights covered by U.S. Copyright Office Registration No. VA

1-935-444, as follows:




                                          THE DEFENDANTS

        15.     Defendants are individuals and business entities who, upon information and

belief, reside mainly in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and

continues to sell counterfeit BUNCH O BALLOONS products to consumers within the United

States, including Illinois and in this Judicial District.

                          THE DEFENDANTS’ UNLAWFUL CONDUCT

        16.     The success of the BUNCH O BALLOONS brand has resulted in its

counterfeiting. Plaintiffs have identified numerous domain names linked to fully interactive

websites and marketplace listings on platforms such as iOffer and Aliexpress, including the

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Defendant Internet Stores, which were offering for sale, selling, and importing counterfeit

BUNCH O BALLOONS products to consumers in this Judicial District and throughout the

United States. Defendants have persisted in creating the Defendant Internet Stores. Internet

websites like the Defendant Internet Stores are estimated to receive tens of millions of visits per

year and to generate over $135 billion in annual online sales. According to an intellectual

property rights seizures statistics report issued by the United States Department of Homeland

Security, the manufacturer’s suggested retail price (MSRP) of goods seized by the U.S.

government in fiscal year 2017 was over $1.2 billion. Internet websites like the Defendant

Internet Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate

businesses and broader economic damages such as lost tax revenue every year.

       17.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine BUNCH O BALLOONS products. Many

of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit

cards, Western Union, and PayPal. Defendant Internet Stores often include images and design

elements that make it very difficult for consumers to distinguish such counterfeit sites from an

authorized website. Defendants further perpetuate the illusion of legitimacy by offering “live

24/7” customer service and using indicia of authenticity and security that consumers have come

to associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and PayPal® logos.

       18.     Plaintiffs have not licensed or authorized Defendants to use the BUNCH O

BALLOONS trademark or copyrights, and none of the Defendants are authorized retailers of

genuine BUNCH O BALLOONS products.



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       19.     Upon information and belief, Defendants also deceive unknowing consumers by

using the BUNCH O BALLOONS trademark without authorization within the content, text, and/or

meta tags of their websites to attract various search engines crawling the Internet looking for

websites relevant to consumer searches for BUNCH O BALLOONS products. Additionally, upon

information and belief, Defendants use other unauthorized search engine optimization (SEO)

tactics and social media spamming so that the Defendant Internet Stores listings show up at or near

the top of relevant search results and misdirect consumers searching for genuine BUNCH O

BALLOONS products. Further, Defendants utilize similar illegitimate SEO tactics to propel new

domain names to the top of search results after others are shut down. As such, Plaintiffs also seek

to disable Defendant Domain Names owned by Defendants that are the means by which the

Defendants could continue to sell counterfeit BUNCH O BALLOONS products.

       20.     Upon information and belief, Defendants also deceive unknowing consumers by

using the BUNCH O BALLOONS copyrights without authorization within the product

descriptions of their Defendant Internet Stores to attract customers.

       21.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their



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identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

        22.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. For example, some of the Defendant websites

have virtually identical layouts, even though different aliases were used to register the respective

domain names. In addition, the counterfeit BUNCH O BALLOONS products for sale in the

Defendant Internet Stores bear similarities and indicia of being related to one another, suggesting

that the counterfeit BUNCH O BALLOONS products were manufactured by and come from a

common source and that, upon information and belief, Defendants are interrelated. The Defendant

Internet Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, accepted payment methods, check-out

methods, meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection,

lack of contact information, identically or similarly priced items and volume sales discounts,

similar hosting services, similar name servers, and the use of the same text and images.

        23.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that



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the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       24.       Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal

transaction logs from previous similar cases indicates that offshore counterfeiters regularly move

funds from U.S.-based PayPal accounts to foreign-based bank accounts outside the jurisdiction

of this Court.

       25.       Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use the BUNCH O BALLOONS trademark and copyrights in

connection with the advertisement, distribution, offering for sale, and sale of counterfeit BUNCH

O BALLOONS products into the United States and Illinois over the Internet. Each Defendant

Internet Store offers shipping to the United States, including Illinois and, on information and

belief, each Defendant has offered to sell counterfeit BUNCH O BALLOONS products into the

United States, including Illinois.

       26.       Defendants’ use of the BUNCH O BALLOONS trademark and copyrights in

connection with the advertising, distribution, offering for sale, and sale of counterfeit BUNCH O

BALLOONS products, including the sale of counterfeit BUNCH O BALLOONS products into

Illinois, is likely to cause and has caused confusion, mistake, and deception by and among

consumers and is irreparably harming Plaintiffs.




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                                             COUNT I

     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

                        [Against Defendants Designated in Schedule A]

       27.     Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-26 of this Complaint.

       28.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered BUNCH O

BALLOONS trademark in connection with the sale, offering for sale, distribution, and/or

advertising of infringing goods. The BUNCH O BALLOONS trademark is a highly distinctive

mark. Consumers have come to expect the highest quality from Plaintiffs’ products provided

under the BUNCH O BALLOONS trademark.

       29.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the BUNCH O BALLOONS trademark without Plaintiffs’ permission.

       30.     Plaintiff CREATIVE IMPACT INC. is the registered owner of the BUNCH O

BALLOONS trademark (U.S. Trademark Registration No. 4709630), and Plaintiffs ZURU LLC

and ZURU INC. are exclusive licensees and official sources of BUNCH O BALLOONS

products. The United States Registration for the BUNCH O BALLOONS trademark (Exhibit 1)

is in full force and effect. Upon information and belief, Defendants have knowledge of Plaintiffs’

rights in the BUNCH O BALLOONS trademark and are willfully infringing and intentionally

using counterfeits of the BUNCH O BALLOONS trademark. Defendants’ willful, intentional,

and unauthorized use of the BUNCH O BALLOONS trademark is likely to cause and is causing




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confusion, mistake, and deception as to the origin and quality of the counterfeit goods among the

general public.

       31.        Defendants’ activities constitute willful trademark infringement and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

       32.        The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of counterfeit BUNCH O BALLOONS products.

       33.        Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known BUNCH O BALLOONS trademark.

                                               COUNT II

                    FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

                          [Against Defendants Designated in Schedule A]

       34.        Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-26 of this Complaint.

       35.        Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

BUNCH O BALLOONS products has created and is creating a likelihood of confusion, mistake,

and deception among the general public as to the affiliation, connection, or association with

Plaintiffs or the origin, sponsorship, or approval of Defendants’ counterfeit BUNCH O

BALLOONS products by Plaintiffs.

       36.        By using the BUNCH O BALLOONS trademark in connection with the sale of

counterfeit BUNCH O BALLOONS products, Defendants create a false designation of origin




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and a misleading representation of fact as to the origin and sponsorship of the counterfeit

BUNCH O BALLOONS products.

       37.        Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit BUNCH O

BALLOONS products to the general public under 15 U.S.C. §§ 1114, 1125.

       38.        Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their brand.

                                              COUNT III

    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                      (815 ILCS § 510/1, et seq.)

                          [Against Defendants Designated in Schedule A]

       39.        Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-26 of this Complaint.

       40.        Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit BUNCH O BALLOONS products as those of Plaintiffs, causing

a likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with genuine BUNCH O BALLOONS products, representing that their products have Plaintiffs’

approval when they do not, and engaging in other conduct which creates a likelihood of

confusion or misunderstanding among the public.

       41.        The foregoing acts of Defendants constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.



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       42.     Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their reputation and goodwill. Unless enjoined by the Court,

Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                            COUNT IV

                  COPYRIGHT INFRINGEMENT (17 U.S.C. § 101, et seq.)

                        [Against Defendants Designated in Schedule A]

       43.     Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-26 of this Complaint.

       44.     Plaintiffs ZURU LLC and ZURU INC. own all exclusive rights, including

without limitation the rights to reproduce the copyrighted work in copies, to prepare derivative

works based upon the copyrighted work, and to distribute copies of the copyrighted work to the

public by sale or other transfer of ownership, or by rental, lease, or lending, in various copyrights

for the BUNCH O BALLOONS products as the exclusive licensee of Tinnus Enterprises,

including without limitation copyrights covered by U.S. Copyright Office Registration No. VA

1-935-444.

       45.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the BUNCH O BALLOONS copyrights without Plaintiffs’ permission.

       46.     Defendants had access to the BUNCH O BALLOONS products incorporating

Plaintiffs’ registered copyrights before Defendants created their Defendant Internet Stores.

       47.     Upon information and belief, Defendants have directly copied Plaintiffs’

copyrights for the BUNCH O BALLOONS products. Alternatively, Defendants’ representations

of Plaintiffs’ copyrights for the BUNCH O BALLOONS products in the Defendant Internet



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Stores are strikingly similar, or at the very least substantially similar, to Plaintiffs’ copyrights for

the BUNCH O BALLOONS products and constitute unauthorized copying, reproduction,

distribution, creation of a derivative work, and/or public display of Plaintiffs’ copyrights for the

BUNCH O BALLOONS products. As just one example, Defendants deceive unknowing

consumers by using the BUNCH O BALLOONS copyrights without authorization within the

product descriptions of their Defendant Online Store to attract customers as follows:




 Plaintiffs’ U.S. Copyright Office                      Defendant Online Store selling Magic Water

 Registration No. VA 1-935-444                          Balloon Self-Sealing Water Ballooon



        48.     Defendants’ exploitation of Plaintiffs’ copyrights for the BUNCH O BALLOONS

products in the Defendant Internet Stores constitutes infringement of Plaintiffs’ copyrights for

the BUNCH O BALLOONS products.

        49.     On information and belief, Defendants’ infringing acts were willful, deliberate,

and committed with prior notice and knowledge of Plaintiffs’ copyrights. Each Defendant

willfully, wantonly, and in conscious disregard and intentional indifference to the rights of

Plaintiffs made and distributed in the United States, including this District, caused to be made

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and distributed in the United States, , including this District, and aided, abetted, contributed to,

and participated in the unauthorized making and distribution of the infringing Defendant Online

Stores. Each Defendant either knew, or should have reasonably known, that Plaintiffs’ BUNCH

O BALLOONS products were protected by copyright and their representations infringed on

Plaintiffs’ copyrights. Each Defendant continues to infringe upon Plaintiffs’ rights in and to the

copyrighted work.

       50.     As a direct and proximate result of their wrongful conduct, Defendants have

realized and continue to realize profits and other benefits rightfully belonging to Plaintiffs.

Accordingly, Plaintiffs seek an award of damages pursuant to 17 U.S.C. § 504.

       51.     In addition to Plaintiffs’ actual damages, Plaintiffs are entitled to receive the

profits made by the Defendants from their wrongful acts, pursuant to 17 U.S.C. § 504(b). Each

Defendant should be required to account for all gains, profits, and advantages derived by each

Defendant from their acts of infringement.

       52.     In the alternative, Plaintiffs are entitled to, and may elect to choose statutory

damages pursuant to 17 U.S.C. § 504(c), which should be enhanced by 17 U.S.C. § 504(c)(2)

because of Defendants’ willful copyright infringement.

       53.     Plaintiffs are entitled to, and may elect to choose, injunctive relief under 17

U.S.C. § 502, enjoining any use or exploitation by Defendants of their infringing work and for an

order under 17 U.S.C. § 503 that any of Defendants’ infringing products be impounded and

destroyed.

       54.     Plaintiffs seek and is also entitled to recover reasonable attorneys’ fees and costs

of suit pursuant to 17 U.S.C. § 505.




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       55.      Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known BUNCH O BALLOONS copyrights.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants and each of them as

follows:

       1.       That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

             a. using the BUNCH O BALLOONS trademark or copyrights or any reproductions,

                counterfeit copies, or colorable imitations thereof in any manner in connection

                with the distribution, marketing, advertising, offering for sale, or sale of any

                product that is not a genuine BUNCH O BALLOONS product or is not authorized

                by Plaintiffs to be sold in connection with the BUNCH O BALLOONS trademark

                or copyrights;

             b. passing off, inducing, or enabling others to sell or pass off any product as a

                genuine BUNCH O BALLOONS product or any other product produced by

                Plaintiffs that is not Plaintiffs’ or not produced under the authorization, control, or

                supervision of Plaintiffs and approved by Plaintiffs for sale under the BUNCH O

                BALLOONS trademark or copyrights;

             c. committing any acts calculated to cause consumers to believe that Defendants’

                counterfeit BUNCH O BALLOONS products are those sold under the




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        authorization, control, or supervision of Plaintiffs, or are sponsored by, approved

        by, or otherwise connected with Plaintiffs;

     d. further infringing the BUNCH O BALLOONS trademark or copyrights and

        damaging Plaintiffs’ goodwill;

     e. otherwise competing unfairly with Plaintiffs in any manner;

     f. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be

        sold or offered for sale, and which bear any Plaintiff trademark or copy any

        Plaintiff copyright, including the BUNCH O BALLOONS trademark or copyrights

        or any reproductions, counterfeit copies, or colorable imitations thereof;

     g. using, linking to, transferring, selling, exercising control over, or otherwise owning

        the Online Marketplace Accounts, the Defendant Domain Names, or any other

        domain name or online marketplace account that is being used to sell or is the

        means by which Defendants could continue to sell counterfeit BUNCH O

        BALLOONS products; and

     h. operating and/or hosting websites at the Defendant Domain Names and any other

        domain names registered or operated by Defendants that are involved with the

        distribution, marketing, advertising, offering for sale, or sale of any product bearing

        the BUNCH O BALLOONS trademark or copyrights or any reproduction,

        counterfeit copy or colorable imitation thereof that is not a genuine BUNCH O

        BALLOONS product or not authorized by Plaintiffs to be sold in connection with

        the BUNCH O BALLOONS trademark or copyrights; and



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       2.      That Defendants, within fourteen (14) days after service of judgment with notice of

entry thereof upon them, be required to file with the Court and serve upon Plaintiffs a written report

under oath setting forth in detail the manner and form in which Defendants have complied with

paragraph 1 above;

       3.      Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant

Domain Names shall be changed from the current registrant to Plaintiffs, and that the domain

name registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiffs’ selection, and that the domain name registrars take any steps necessary to transfer the

Defendant Domain Names to a registrar of Plaintiffs’ selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4.      Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces such as iOffer and

Alibaba Group Holding Ltd., Alipay.com Co., Ltd., and any related Alibaba entities

(collectively, “Alibaba”), social media platforms such as Facebook, YouTube, LinkedIn, Twitter,

Internet search engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain

Names, and domain name registrars, shall:

            a. disable and cease providing services for any accounts through which Defendants

               engage in the sale of counterfeit BUNCH O BALLOONS products using the

               BUNCH O BALLOONS trademark or copyrights, including any accounts

               associated with the Defendants listed on Schedule A;




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            b. disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of counterfeit BUNCH O BALLOONS

               products using the BUNCH O BALLOONS trademark or copyrights; and

            c. take all steps necessary to prevent links to the Defendant Domain Names

               identified on Schedule A from displaying in search results, including, but not

               limited to, removing links to the Defendant Domain Names from any search

               index.

       5.      That Defendants account for and pay to Plaintiffs all profits realized by

Defendants by reason of Defendants’ unlawful acts herein alleged, and that the amount of

damages for infringement of the BUNCH O BALLOONS trademark be increased by a sum not

exceeding three times the amount thereof as provided by 15 U.S.C. § 1117.

       6.      In the alternative, that Plaintiffs be awarded statutory damages pursuant to 15

U.S.C. § 1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of

the BUNCH O BALLOONS trademark and statutory damages of not less than $750 and not

more than $30,000 for each and every infringement of Plaintiffs’ copyrights pursuant to 17

U.S.C. § 504(c), which should be enhanced to a sum of not more than $150,000 by 17 U.S.C. §

504(c)(2) because of Defendants’ willful copyright infringement;

       7.      That Plaintiffs be awarded its reasonable attorneys’ fees and costs; and

       8.      Award any and all other relief that this Court deems just and proper.

 Dated:     July 15, 2019                            Respectfully submitted,
                                                     DUNLAP BENNETT & LUDWIG, PLLC
                                                 By: /s/ Nicholas A. Kurtz
                                                     Nicholas A. Kurtz
                                                     ARDC No. 6320053
                                                     Dunlap Bennett & Ludwig, PLLC
                                                     55 E. Monroe, Suite 3800
                                                     Chicago, IL 60603


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                                         Counsel for Plaintiffs
                                         CREATIVE IMPACT INC., ZURU LLC,
                                         and ZURU INC.




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                               EXHIBIT 2
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      SCHEDULE A TO COMPLAINT – PROVISIONALLY FILED UNDER SEAL

No.      Seller Names         Defendant Online Marketplace            ®/©
  1                                                              ®©
  2                                                              ®©
  3                                                              ®©
  4                                                              ®©
  5                                                              ®©
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  Case: 1:19-cv-04734 Document #: 1 Filed: 07/15/19 Page 36 of 46 PageID #:1




No.     Seller Names          Defendant Online Marketplace            ®/©
 43                                                              ®©
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  Case: 1:19-cv-04734 Document #: 1 Filed: 07/15/19 Page 37 of 46 PageID #:1




No.     Seller Names          Defendant Online Marketplace            ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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No.     Seller Names          Defendant Online Marketplace           ®/©
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